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                           UNITED STATES DISTRICT COURT
                                  District of Minnesota


Stephen Phillips, Mary Tourville‐Phillips                JUDGMENT IN A CIVIL CASE
                                  Plaintiff(s),
v.                                                       Case Number: 19‐cv‐02711‐WMW‐LIB
Caliber Home Loans, Inc.

                                  Defendant(s).




☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

1. Plaintiffs’ Unopposed Motion for Final Approval of Class Action Settlement, (Dkt.

102), is GRANTED.

        a. The Settlement Class is finally certified, for settlement purposes only,

        pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure.

        b. The Settlement Agreement is finally approved as being fair, reasonable

        and adequate pursuant to Rule 23(e) of the Federal Rules of Civil Procedure.
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       c. Plaintiffs Stephen Phillips, Mary Tourville-Phillips, Sandi Barnett, Gregory

       Benjamin, Tyrus Davis, and Christopher Bingham are confirmed as Class

       Representatives.

       d. James L. Kauffman, Randall K. Pulliam, Hassan A. Zavareei and Kristen G.

       Simplicio are confirmed as Class Counsel.

       e. The Court confirms that the Notice Plan complied with the requirements of Rule

       23 of the Federal Rules of Civil Procedure and due process.

       f. The Court confirms the cy pres recipient as Habitat for Humanity.

       g. All Settlement Class Members who timely requested exclusion are excluded

       from the Settlement. The Settlement Class Members who did not timely request

       exclusion are hereby bound by the terms of the Settlement Agreement.



2. Plaintiffs’ Unopposed Motion for Award of Attorneys’ Fees, Litigation Costs, and

Service Awards, (Dkt. 95), is GRANTED.

       a. The Court awards $1,666,500 in attorneys’ fees and $10,410.66 in litigation

       expenses to Class Counsel.

       b. The Court approves Service Awards of $5,000 each to Class Representatives

       Stephen Phillips, Mary Tourville-Phillips, Sandi Barnett, Gregory Benjamin,

       Tyrus Davis, and Christopher Bingham.



3. Without affecting the finality of this Order and the judgment, the Court

retains jurisdiction over this matter for the purpose of resolving disputes related to the
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interpretation, administration, implementation, effectuation and enforcement of the

Settlement Agreement.




   Date: 3/22/2022                                       KATE M. FOGARTY, CLERK
